(Post: 3/12/14)
               A
                              Case 5:17-cv-00079-JLH Document 14 Filed 06/16/17 Page 1 of 2                                                                                          5
       U.S. Department of Justice                                                             PROCESS RECEIPT AND RETURN
                                                                                              See Instructions for "Service of Process by the U.S. Marshal"
     · United States Marshals Service                                                         on the reverse of this form.

       PLAINTIFF                                                                                                            COURT CASE NUMBER
          Charles E Hamner, ADC #143063                                                                                          5:17-cv-00079-JLH-BD
      DEFENDANT                                                                                                             TYPE OF PROCESS
          Danny Burls, et al.                                                                                               Summons & Complaint
      SERVE                   NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN




            •
            AT
                           Marvin Evans, Dep. Director, ADC
                              ADDRESS Street or RFD, Apartment No .. City, State and ZIP Code)

                           P.O. Box 20550
      SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAIVE AND ADDRESS BELO/If.
                                                                                              c/o ADC Compliance Division


                                                                                              Pine Bluff, AR

                                                                                                              I Number d
                                                                                                                            71612

                                                                                                                                 process to be
                                                                                                               I served with this Form - 286
                    lcharles E Hamner, ADC #143063                                                             I

                      VARNER SUPERMAX                                                                          : Number of panies to be
                      Arkansas Department of Correction                                                        I served in this case
                      Post Office Box 400
                    J Grady, AR 71644-0400                                                                     :check for service
          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ! o n U.S.A.


      T.,~~ephone
               Number, and Estimated Times Available For Service):                            Ff LED
      SPECIAL INSTRJC110NS CR OTl-ER 11\FORMATICXll THAT WLL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,                                         All

                                                                                                                                                                              Fold
                                                                                          U.S. DISTRICT COURT
                                                                                    !::ASTERN DISTRICT ARKANSAS

                                                                                         JUN 16 2017
                                                                           JAMES W.~RMACK, CLERK
                                                                           By:            -                   r;::; ,..,,    ,
      Signature of Attorney or other Originator requesting service on behalf ol:
                                                                                              0   PLAINTIFF
                                                                                                                   TELEPHONE NUMBER             5     ~-'
                                                                                                                                                            D~     Ci
          /s/ M. Frost, Deputy Clerk                                                                               501-604-5351
                                                                                                                                                U'I
                                                                                                                                                Q.I
                                                                                                                                                      :e!.. 5a_9/2011
                                                                                              0   DEFENDANT


       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
      I acknowledge receipt for the total

                                                                                           ··s:~~c--
                                              Total Process District        District                                                                               Date
      number of process Indicated.                            of Orig~      to Serve
      (Sign only first USM 285 if more
      than one USM 285 is submitted)                          No.          No      oll                                                                             G-a3- ll
      I hereby certify and return tha\:l have personally served, 0 have legal evidence of service, D have executed as shown in "Remarks", the process described
      on the individual, company, co ration, etc., at the address shown above or on the individual, company, corporation, etc., shown at the address inserted below.

      0   I hereby certify and return that I am unable to locate the individual, company, corporation, etc.,       named above (See remarks below)

      Name and title of individual served (If not shown above)                                                                           A person of suitable age and dis-
                                                                                                                                  0      Cllllim then residing in the defendant's
                                                                                                                                         Ullllll place of abode.
      Address (complete only if diffetent than shown above)                                                                        Date of Service      Time


                                                                                                                                                                              pm




           Service Fee     Total Mileage Charges       Forwarding Fee   otal Charges     Advance Deposits     Amount owed to U.S. Marshal or              Amount of Refund
                           (inclu!l!"g endeavotS~
                                                                         1~1 .:~                              f I~ 9 ,                c:r>.
          /Jo                   ..r~        ~q
      REMARKS:




      PRIOR EDITIONS                                                                                                                          FORM USM-285 (Rev. 12/15/80)
      :MA..Y BE USED
                                                              1. CLERK OF THE COURT
           Case 5:17-cv-00079-JLH Document 14 Filed 06/16/17 Page 2 of 2



                               Arkansas Board of Corrections
                                   Compliance Division
                                   Post Office Box 20550
                                White Hall, Arkansas 71612
                                  Phone: (870) 267-6752
                                    Fax: (870) 267-6755


MEMORANDUM

TO:           United States Marshals Service, Western District

FROM:         Chris Coody, Investigator Compliance Division

RE:           Accepting Service/Returning Service/Additional Service

DATE:         June 12, 2017


Please be advised that I am Accepting Service on these copies of this lawsuit, case no.
5:17CV00079, Im. Charles E. Hammer, ADC#143063, v, Danny Burl et al, for the
following, on this Date: June 12, 2017:

        Danny Burl, Warden, MSU
        Connie Jenkins, Classification, Ester Unit
        Maurice Williams, Major, Grimes Unit
        Steve Outlaw, Deputy Warden, Pine Bluff Unit
        Marvin Evans, Retired, Deputy Director ADC


This case is assigned to Chris Coody, Investigator for the Compliance Division.

This case was delivered by U. S. Marshal's Service

cc:     Attorney General's Office
        Case File
